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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     www.flsb.uscourts.gov

In re:                                             Case No. 22-14583-SMG
                                                   Chapter 13
MARISA CHANILE SMITH
                                                                         U.S. OOUCPTCY COURT
                                                                      sounrr:~°'i DISTRICT OF FLORIDA
                                                                        FORT LA lJl)ERDALE DI\1SION
                   Debtor     /


                        NOTICE OF CHANGE OF ADDRESS



YOU ARE NOTIFIED that effective immediately debtor MARISA CHANILE SMITH has
changed her mailing address to:


                                    Marisa Chanile Smith
                                     16000 Pines Blvd
                                         # 824031
                                  Pembroke Pines, FL 33082


Please update the mailing address to reflect this address. All future mailing shall be
mailed to the above address only.


Date: May 16, 2023


BY: /s/ Marisa Chanile Smith
 Marisa Chanile Smith
16000 Pines Blvd
#824031
Pembroke Pines, FL 33082
marisasmith@mail.com




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